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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA



 WHALECO INC.,
                                                           Case No. 1:23-cv-03706 (TJK)
                 Plaintiff,

 v.

 SHEIN TECHNOLOGY LLC,
 ROADGET BUSINESS PTE. LTD.,

                 Defendants.


               PLAINTIFF’S
               PLAINTIFF'S MOTION FOR PRELIMINARY INJUNCTION

       Pursuant to Rules 65(a) and (d) of the Federal Rules of Civil Procedure, Plaintiff

respectfully requests that this Court issue a preliminary injunction requiring Defendants to be

enjoined from abuses of the Digital Millennium Copyright Act ("DMCA")
                                                             (“DMCA”) and provide proof to

support the validity of their DMCA takedown notices to Plaintiff. The grounds for this motion

appear in the accompanying memorandum of points and authorities and supporting declarations

and exhibits (currently filed with the Court under seal pending decision on Plaintiff's
                                                                            Plaintiff’s motion to

seal). Pursuant to LCvR 7(m), Plaintiff conferred with Defendants prior to filing this motion, but

as of the time of the filing, Defendants have refused to cease their DMCA violations and comply

     Plaintiff’s requests.
with Plaintiff's

       WHEREFORE, Plaintiff respectfully requests that this motion be granted.



Date: January 11, 2024                       Respectfully submitted,

                                             /s/ Anna Naydonov
                                             Anna Naydonov (D.C. Bar No. 980910)
                                             J. Mark Gidley (D.C. Bar No. 417280)
                                             Michael J. Songer (D.C. Bar No. 453727)


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                             WHITE & CASE LLP
                             701 Thirteenth Street, NW
                             Washington, DC 20005
                             Telephone: (202) 637-6197
                             Fax: (202) 639-9355
                             anna.naydonov@whitecase.com
                             mgidley@whitecase.com
                             michael.songer@whitecase.com

                             Jack E. Pace III (pro hac vice)
                             Michael Hamburger (pro hac vice)
                             Holly Tao (pro hac vice)
                             Rosie Norwood-Kelly (D.C. Bar No. 1780519) (pro
                             hac vice)
                             WHITE & CASE LLP
                             1221 Avenue of the Americas
                             New York, NY 10020
                             Telephone: (212) 819-8520
                             Fax: (212) 354-8113
                             jpace@whitecase.com
                             michael.hamburger@whitecase.com
                             holly.tao@whitecase.com
                             rosie.norwood-kelly@whitecase.com

                             Counsel for
                                     for Plaintiff
                                         Plaintiff WhaleCo Inc.
